Case 2:22-cv-00854-MEF-JBC    Document 97   Filed 02/13/25   Page 1 of 11 PageID:
                                    2519


                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


    CRAIG M. ROSE, individually and
    on behalf of all others
                                            No. 22-cv-00854 (MEF)(JBC)
    similarly situated,


                                                  OPINION and ORDER
              Plaintiffs,

         v.

    BUTTERFLY NETWORK, INC. F/K/A
    LONGVIEW ACQUISITION CORP., et
    al.,


              Defendants.



                              Table of Contents
I.      Background
        A.    SPAC Mergers
        B.    Section 11
II.     Analysis
        A.    Before Time 2
        B.    After Time 2
              1.     Statistical Tracing
              2.     “Exchange”
III.     Conclusion
                                  *   *     *

The Plaintiffs 1 sued on behalf of putative classes of investors.
See Second Amended Complaint (“Complaint”) at 1.


1  There are three: KNS Holdings LLC DBPP UA Jan. 1, 2016; Carl
Metzger; and Dan Liu. KNS Holdings is the lead plaintiff.
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 2 of 11 PageID:
                                   2520


The Defendants 2 have moved to dismiss.       See Defendants’ Motion to
Dismiss at 1.

As of around two weeks ago, the briefing became fully submitted
as to one of the motion-to-dismiss issues: do the Plaintiffs
have standing as to their claim under Section 11 of the
Securities Act of 1933?

The Court’s conclusion: no.

Therefore, the Section 11 claim must be dismissed.

To explain why, the Court first moves through some necessary
background, see Part I, and then considers and rejects the
various arguments that have been advanced here by the Plaintiffs
as to Section 11 standing, see Part II. This means the
Section 11 claim must be dismissed --- and also another claim,
as explained in Part III.

I.    Background

Before getting to the analysis, take two bits of background, as
to a type of merger that is in play here, see Part I.A, and as
to Section 11, see Part I.B.

      A.    SPAC Mergers

A private company has various ways to bring itself public.

The most familiar way: through a conventional initial public
offering.

But a private company can also go down a different road. It can
merge with a “special purpose acquisition company” (“SPAC”).
See Thomas Lee Hazen, 1 Law Sec. Reg. § 3:58 (2024); Louis Loss,
Joel Seligman & Troy Paredes, Fundamentals of Securities
Regulation § 2.A.8 (6th ed. 2018).

A SPAC is essentially a blank slate --- a shell company brought
into being for the purpose of attracting capital, and then using
that money to take one or more private companies public. See
Hazen, 1 Law Sec. Reg. § 3:58.


Metzger and Liu are the named plaintiffs.          No party has sought
to alter the caption to reflect this.
2  The Defendants are Butterfly Network, Inc., see Complaint
¶ 21, plus a set of individuals, see id. ¶¶ 22–34.
                                     2
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 3 of 11 PageID:
                                   2521


Going public via a SPAC is usually a two-step process. See
Andrew F. Tuch & Joel Seligman, The Further Erosion of Investor
Protection: Expanded Exemptions, SPAC Mergers, and Direct
Listings, 108 Iowa L. Rev. 303, 322–23 (2022).

First, the SPAC goes public. See id. at 323; accord, e.g.,
Ramey Layne & Brenda Lenahan, Special Purpose Acquisition
Companies: An Introduction, Harvard Law School Forum on
Corporate Governance (July 6, 2018), https://perma.cc/2CTE-NQB2
(last visited Feb. 13, 2025).

And second, the now-public SPAC merges with a private company.
See Tuch & Seligman, Further Erosion, 108 Iowa L. Rev at 323.

As a practical matter, the merger turns the private company into
a public company. 3

                               *     *     *

This case is about a SPAC merger. See Complaint ¶ 2; see also
Plaintiffs’ Letter (Jan. 29, 2025) at 2.

A particular SPAC 4 became public during 2020.          See Complaint
¶ 56. 2020 is, from here, “Time 1.”

During 2021, the SPAC in question merged with a private company,
the Defendant. See id. ¶ 2. 2021 is, from here, “Time 2.”

A registration statement was issued at Time 1, see id. ¶ 56, and
also at Time 2, see id. ¶ 65.

       B.   Section 11

Turn now to Section 11 of the Securities Act of 1933.

Section 11 “allows certain investors to sue if they have been
misled by [a] registration statement.” Holland v. 9F Inc., 2024
WL 5086106, at *1 (D.N.J. Dec. 12, 2024); see 15 U.S.C.
§ 77k(a).

To make out a Section 11 claim, a plaintiff has to “plead . . .
that he purchased shares traceable to [an] allegedly defective

3  As to some of the reasons why a private company might opt to
go public via a SPAC merger, see, for example, Hacker v.
Electric Last Mile Solutions Inc., 687 F. Supp. 3d 582, 591 n.15
(D.N.J. 2023).
4   Longview Acquisition Corp.
                                     3
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 4 of 11 PageID:
                                   2522


registration statement.”      Slack Techs., LLC v. Pirani, 598 U.S.
759, 770 (2023).

The “traceable” requirement is there because Section 11 covers
only those securities that were “registered under the particular
[defective] registration statement.” Id. at 767; see Shapiro v.
UJB Fin. Corp., 964 F.2d 272, 286 (3d Cir. 1992) (“[A]ny person
acquiring a security issued pursuant to a false or misleading
registration statement may [seek to] recover [under Section
11].”); see also Barnes v. Osofsky, 373 F.2d 269, 272 (2d Cir.
1967).

II.   Analysis

Against the backdrop set out above, come back now to the
Section 11 claim in this case.

Here, the Plaintiffs allege that they “purchased or otherwise
acquired the [Defendants’] stock pursuant or traceable to” a
particular registration statement, see Complaint ¶¶ 18-20, the
one issued at Time 2, see id. ¶¶ 65, 67. 5

But simply saying so is not enough, see Holland, 2024
WL 5086106, at *3-*5, and the Plaintiffs seek to plausibly
allege that the “traceable” bar has been cleared by attaching
certifications indicating when they made certain stock buys. 6

Look now to these stock buys --- the ones allegedly made before
Time 2, see Part II.A, and the ones allegedly made after, see
Part II.B.




5  The Time 2 registration statement was allegedly “declared
effective” on January 26, 2021. See Complaint ¶ 65. Section 11
liability is keyed to when the relevant “part of the
registration statement . . . [becomes] effective.” 15 U.S.C.
§ 77k(a).
6  These certifications were incorporated by reference into the
Complaint. See Complaint ¶¶ 18–20. Therefore, they can be
considered here. See Mayer v. Belichick, 605 F.3d 223, 230 (3d
Cir. 2010); Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260
(3d Cir. 2006).

                                     4
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 5 of 11 PageID:
                                   2523


      A.    Before Time 2

Per the certifications: some of the shares were bought before
Time 2. Compare Docket Entry 32–3 and Docket Entry 69 with
Complaint ¶ 65; see Complaint ¶¶ 19–20, 70.

But to press a Section 11 claim based on buying certain shares,
the shares must have been “registered under the particular
[misleading] registration statement,” Slack, 598 U.S. at 767 ---
and here, the Plaintiffs’ claim is that the misleading
registration statement was issued at Time 2, see Complaint ¶ 1. 7

Shares that were bought before Time 2 existed before Time 2.
And there is no reason to think that shares that existed before
Time 2 were “registered under” what would have been a later
registration statement, the Time 2 registration statement.

Therefore, the Plaintiffs have no standing under Section 11 as
to those shares that they bought before Time 2.

This is common sense. A plaintiff could not have been damaged
by a “[misleading] registration statement” if the shares she
bought were issued before the registration statement came out in
the first place. See Slack, 598 U.S. at 767; see also 15 U.S.C.
§ 77k(a).

And cases have landed on this same conclusion. See In re
CarLotz, Inc. Sec. Litig., 667 F. Supp. 3d 71, 81 (S.D.N.Y.
2023); Lanigan Grp., Inc. v. Li-Cycle Holdings Corp., 2023
WL 6541884, at *10 (E.D.N.Y. Oct. 6, 2023).

Bottom line: to the extent the Plaintiffs allege standing under
Section 11 as to shares bought before Time 2, the motion to
dismiss is granted. No Section 11 claim can go forward here
based on those shares.

      B.    After Time 2

Turn now to the shares bought after Time 2.

Per the certifications, these shares were bought by the
Plaintiffs at various times soon after the Time 2 registration
statement became effective. See Docket Entries 21-3, 32-3, 69.



7  The Plaintiffs do not allege that the Time 1 registration
statement was misleading.

                                     5
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 6 of 11 PageID:
                                   2524


Refer to the time when these shares were bought as “Time 3.”

“[A] look to the timing of a stock buy is often at the core of
establishing whether it is ‘traceable’ to a registration
statement.” Holland, 2024 WL 5086106, at *4 (collecting cases).

But not always, and not here. 8

The reason: there is another registration statement folded into
the mix --- a registration statement that was issued at Time 1,
in connection with the SPAC going public. See Complaint ¶ 56.

If the shares bought at Time 3 trace back to the Time 2
registration statement, which the Plaintiffs’ claims are based
on --- then there is standing for a Section 11 claim based on
those shares.

But if the shares bought at Time 3 trace back to the Time 1
registration statement, which the Plaintiffs’ claims are not
based on --- then there is no standing for a Section 11 claim
based on those shares.

It is for the Plaintiffs, who carry the burden, see Slack, 598
U.S. at 770, to connect the dots --- to show that the shares in
play trace back to the complained-of registration statement. If
they do not, there is no Section 11 standing. See In re ARIAD
Pharms. Sec. Litig., 842 F.3d 744, 755 (1st Cir. 2016) (when
there are multiple registration statements, a plaintiff needs to
trace her shares to the misleading registration statement,
“rather than some other registration statement”) (cleaned up);
In re Century Aluminum Co. Sec. Litig., 729 F.3d 1104, 1106 (9th
Cir. 2013) (similar); Hertzberg v. Dignity Partners, Inc., 191
F.3d 1076, 1080 & n.4 (9th Cir. 1999) (similar); see also
Rosenzweig v. Azurix Corp., 332 F.3d 854, 873 (5th Cir. 2003)
(“[B]ecause there was only one offering . . . all the
plaintiff’s stock is traceable to the challenged registration
statement.”); W. Palm Beach Firefighters’ Pension Fund v.
Conagra Brands, Inc., 495 F. Supp. 3d 622, 668–71 (N.D. Ill.
2020) (in the merger context, noting that Section 11 is “harder
to satisfy” when there are pre-existing shares); De Vito v.
Liquid Holdings Grp., Inc., 2018 WL 6891832, at *17 (D.N.J. Dec.

8  Note: there is a conclusory allegation in Complaint as to a
lock-up period, see Complaint ¶¶ 19–20, but nothing meaningful.
For example, there is no allegation of a lock-up period that
prevented shares issued under the Time 1 registration statement
from being bought on the aftermarket at Time 3.

                                     6
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 7 of 11 PageID:
                                   2525


31, 2018) (no plausible inference of Section 11 standing when
there is another registration statement under which a plaintiff
could have purchased shares); cf. In re Vivendi Universal, S.A.
Sec. Litig., 381 F. Supp. 2d 158, 173 (S.D.N.Y. 2003) (finding
standing pre-Twombly/Iqbal when “the shares are traceable to the
allegedly defective [merger registration statement]”); In re
Cendant Corp. Litig., 60 F. Supp. 2d 354, 366 (D.N.J. 1999)
(similar).

Here, the Plaintiffs try to carry their burden in two ways.
Take these up just below.

            1.   Statistical Tracing

First, the Plaintiffs say that most shares that were being
bought and sold at Time 3 were issued under the Time 2
registration statement, not the Time 1 registration statement.
See Plaintiffs’ Letter (Jan. 29, 2025) at 2.

Therefore, the argument goes, it is plausible, see Ashcroft v.
Iqbal, 556 U.S. 662, 678 (2009), that a given Time 3 share can
be traced back to the Time 1 registration statement. See Slack,
598 U.S. at 770.

This sort of probabilistic argument may or may not work as a
general matter --- there are different views as to whether
Section 11 standing can be established based on “statistical
tracing.” Compare, e.g., Krim v. pcOrder.com, Inc., 402 F.3d
489, 496–97 (5th Cir. 2005); Davidco Invs., LLC v. Anchor Glass
Container Corp., 2006 WL 547989, at *23 (M.D. Fla. Mar. 6,
2006); and Abbey v. Comput. Memories, Inc., 634 F. Supp. 870,
874 (N.D. Cal. 1986) with, e.g., In re Snap, Inc. Sec. Litig.,
334 F.R.D. 209, 224 (C.D. Cal. 2019) and Sudunagunta v.
NantKwest, Inc., 2018 WL 3917865, at *5 (C.D. Cal. 2018).

But this issue is not before the Court, at least for now.

The Plaintiffs’ statistical tracing argument does not rest on
allegations in the Complaint. Rather, it is based solely on
information gleaned from other parts of the docket. See
Plaintiffs’ Letter (Jan. 29, 2025) at 2 (citing Plaintiffs’ Sur-
Reply Brief to Motion to Dismiss at 10, which cites Defendants’
Pre-Motion Letter (Jan. 6, 2023)).

But on a Rule 12(b)(6) motion to dismiss, this sort of
information is usually out of bounds.



                                     7
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 8 of 11 PageID:
                                   2526


A court typically considers only (a) allegations that are in a
plaintiff’s complaint, (b) materials that are integrated into
the complaint, and (c) information that can be judicially
noticed. This list does not include factual assertions pulled
from other sources, like the filings the parties have put on the
court’s docket. See Schmidt v. Skolas, 770 F.3d 241, 249 (3d
Cir. 2014); Pryor v. Nat’l Collegiate Athletic Ass’n, 288 F.3d
548, 560 (3d Cir. 2002); Pension Benefits Guar. Corp. v. White
Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993); see
also 2 Moore’s Federal Practice - Civil § 12.34 (2024).

To be sure, a court can sometimes choose to consider such on-
the-docket information. See Buck, 452 F.3d 256 (citing Wright &
Miller, 5B Fed. Prac. & Proc. Civ. § 1357 (3d ed. 2024)).

But whether to do so is a discretionary call.           See Pryor, 288
F.3d at 559.

And here, the Court will not look to the statistical tracing
information that is on the docket (but not in the Complaint or
integrated into it) as a basis for Section 11 standing.

The reason why: traceability is an element of a Section 11
claim, see Slack, 598 U.S. at 770, and when it comes to the
information that is said to directly check the box as to an
element --- that information should not generally be available
to the Court only in post-complaint filings on the Court’s
docket. It should be drawn from the Complaint, materials
integrated into it, or information that can be judicially
noticed.

This is for three reasons.

First, the elements are irreducibly necessary and also typically
small in number; they are often the most important thing in a
case. Requiring that they be backed up by at least some factual
allegations in a complaint is a way to ensure that a defendant
can have a fair sense from the get-go of what the case against
her is all about. See Bell Atl. Corp. v. Twombly, 550 U.S. 544,
555 (2007) (pleadings must “give the defendant fair notice of
what the claim is and the grounds upon which it rests”) (cleaned
up).

Second, a complaint helps to ensure efficient and on-the-merits
dispute resolution by providing the parties with a crystallized
(and early) sense of the issues that divide them. This is part
of why a complaint must be “short and plain,” Fed. R. Civ.


                                     8
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 9 of 11 PageID:
                                   2527


P. 8(a)(1) --- the culmination of thinking, not a scattershot
first draft that has not yet been honed down. 9

But a complaint cannot play this clarifying role if it does not
include the case’s basic information. And there is no
information more basic than information as to how the elements
might be met.

Third, there is generally nothing unfair to a plaintiff about
requiring him to rely on factual allegations in the complaint as
to what undergirds each element.

At the time of filing the complaint, and based on a sufficient
“inquiry,” the plaintiff’s lawyer must be ready to stand behind
the complaint’s claims. See Fed. R. Civ. P. 11(b)(2) (“By
presenting to the court a [complaint], . . . an attorney . . .
certifies that . . . the claims . . . are warranted by existing
law or by a nonfrivolous argument for extending, modifying, or
reversing existing law or for establishing new law.”).

If the plaintiff’s lawyer has satisfied himself that the claim
is solid-enough for Rule 11 purposes, it necessarily follows
that he is sufficiently comfortable as to each of the claim’s
elements. After all, without each element being met, there can
be no claim. If the plaintiff’s lawyer is ready enough to go
forward as to a claim --- he should be ready enough to lay out
the factual allegations as to the claim’s basic constituent
parts, its elements.

Bottom line: when it comes to the core factual assertions that
go directly to an element, there is special reason to look only
to the standard sources --- and not to information that is
backfilled from here-and-there post-complaint filings that have
been put on the court’s docket.

And this principle applies here with added force.

In this putative class action, the Plaintiffs are represented by
highly sophisticated and experienced lawyers. They presumably

9   [P]leading rules . . . facilitate efficient “communication”
    between parties to a lawsuit. In other words, pleading rules
    set the parameters for the parties’ exchange of “signals” as
    to what issues are to be disputed; . . . [P]leading rules[s’]
    . . . role is to refine the scope of the litigation.

Thomas R. Lee, Pleading and Proof: The Economics of Legal
Burdens, 1997 B.Y.U. L. Rev. 1, 6–7 (1997).
                                     9
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 10 of 11 PageID:
                                   2528


 included Section 11 claims (and not just their claims under the
 Exchange Act of 1934) because they have a sense as to how
 statistical tracing might play out here; it is reasonable to
 expect that sense to be put forward to an extent in the
 Complaint.

 Moreover, there may potentially be a basis for some limited
 discovery as to statistical tracing. See Holland, 2024
 WL 5086106, at *4 n.4. Rough allegations in a complaint can
 help to anchor such discovery, if it is available, and tightly
 limit it.

 In short: the Plaintiffs’ statistical tracing argument fails
 because it rests entirely on information that is not in the
 Complaint that the Court will not opt to consider here.

             2.   “Exchange”

 The Plaintiffs’ second argument as to why there is Section 11
 standing here is more difficult to understand.

 It seems to be this: the shares that were issued under the
 Time 1 registration statement were “convert[ed]” at the Time 2
 merger --- and all of those shares must, after the merger,
 therefore be viewed as having been issued under the Time 2
 registration statement. See Plaintiffs’ Letter (Jan. 29, 2025)
 at 2; see also Complaint ¶¶ 1, 254 (referencing the “exchange”
 of Time 1 shares).

 But even assuming arguendo that an argument along these lines
 might work in general, it does not work here. This is because
 the information put before the Court suggests that some SPAC
 shares issued under the Time 1 registration statement were
 “exchanged” at the time of the merger, see Motion to Dismiss,
 Exhibit B 10 at 3–4, but that others were not; they were simply
 renamed after the merger, see id.

 And if that is the case, it leaves things as they were: with no
 way to know whether a given share bought at Time 3 can be traced
 to the Time 2 registration statement or the Time 1 statement.
 After all, the Plaintiffs put forward no reason to think that a
 given share issued under the Time 1 registration statement was
 converted or exchanged at the merger (so that, on the
 Plaintiffs’ argument, it counts as having been issued under the
 Time 2 registration statement) or was simply renamed at the
 merger (so that, even on the Plaintiffs’ argument, it presumably

 10   This is the Time 2 registration statement.
                                    10
Case 2:22-cv-00854-MEF-JBC   Document 97   Filed 02/13/25   Page 11 of 11 PageID:
                                   2529
